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 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                    )    CASE NO.:     1:10-cr-00249 AWI
11                                                 )
                                                   )    STIPULATION AND
12                        Plaintiff,               )    PROTECTIVE ORDER BETWEEN THE
                                                   )    UNITED STATES AND DEFENDANT
13                                                 )    PATRICIA ANN KING
                    v.                             )
14                                                 )
                                                   )
15    ERIC RAY HERNANDEZ,                          )
      MONICA MARIE HERNANDEZ, aka                  )
16    Monica Marie Duarte,                         )
      EVELYN BRIGGET SANCHEZ,                      )
17    PATRICIA ANN KING, and                       )
      DARLING ARLETTE MONTALVO,                    )
18                                                 )
                          Defendants.              )
19                                                 )
20
21          WHEREAS, the discovery in this case is voluminous and contains a
22   large amount of personal information including but not limited to
23   Social Security numbers, dates of birth, driver’s license numbers,
24   bank account numbers, telephone numbers, and residential addresses
25   (“Protected Information”); and
26          WHEREAS, the parties desire to avoid both the necessity of large
27   scale redactions and the unauthorized disclosure or dissemination of
28   this information to anyone not a party to the court proceedings in
     _____________________________________________________________________________________________

                                   Stipulation and Protective Order
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 1   this matter;
 2          The parties agree that entry of a stipulated protective order is
 3   appropriate.
 4          THEREFORE, defendant PATRICIA ANN KING, by and through her
 5   counsel of record (“Defense Counsel”), and plaintiff the United
 6   States of America, by and through its counsel of record, hereby agree
 7   and stipulate as follows:
 8          1.     This Court may enter protective orders pursuant to
 9   Rule 16(d) of the Federal Rules of Criminal Procedure, and its
10   general supervisory authority.
11          2.     This Order pertains to all discovery provided to or made
12   available to Defense Counsel as part of the discovery in this case
13   (hereafter, collectively known as the “discovery”).
14          3.     By signing this Stipulation and Protective Order, Defense
15   Counsel agrees not to share any documents that contain Protected
16   Information with anyone other than Defense Counsel and designated
17   defense investigators and support staff.                Defense Counsel
18   may permit the defendant to view unredacted documents in the
19   presence of her attorney, defense investigators and support staff.
20   The parties agree that Defense Counsel, defense investigators, and
21   support staff shall not allow the defendant to copy Protected
22   Information contained in the discovery.                The parties agree that
23   Defense Counsel, defense investigators, and support staff may provide
24   the defendant with copies of documents from which Protected
25   Information has been redacted.
26          4.     The discovery and information therein may be used only in
27   connection with the litigation of this case and for no other purpose.
28   The discovery is now and will forever remain the property of the
     _____________________________________________________________________________________________

                                   Stipulation and Protective Order

                                                   2
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 1   United States Government.           Defense Counsel will return the discovery
 2   to the Government or certify that it has been shredded at the
 3   conclusion of the case.
 4          5.     Defense Counsel will store the discovery in a secure place
 5   and will use reasonable care to ensure that it is not disclosed to
 6   third persons in violation of this agreement.
 7          6.     Defense Counsel shall be responsible for advising the
 8   defendant, employees, other members of the defense team, and defense
 9   witnesses of the contents of this Stipulation and Order.
10          7.     In the event that the defendant substitutes counsel,
11   undersigned Defense Counsel agrees to withhold discovery from new
12   counsel unless and until substituted counsel agrees also to be bound
13   by this Order or the Court modifies this Order regarding such
14   transfer of discovery.
15          IT IS SO STIPULATED.
16   DATED:      Nov. 30, 2010               By:       /s/ Robert D. Wilkinson
                                                       (as authorized on 11/29/10)
17                                                     ROBERT D. WILKINSON
                                                       BAKER, MANOCK & JENSEN
18                                                     Attorneys for defendant
                                                       PATRICIA ANN KING
19
20   DATED:      Nov. 30, 2010                         BENJAMIN B. WAGNER
                                                       United States Attorney
21
                                               By: /s/ Kirk E. Sherriff
22                                                 KIRK E. SHERRIFF
                                                   Assistant U.S. Attorney
23
24                                              ORDER
25   IT IS SO ORDERED.
26
     Dated:          November 30, 2010
27   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
28
     _____________________________________________________________________________________________

                                   Stipulation and Protective Order

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